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                         Nos. 23-1175(L), 23-1222

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                       CITY OF PORT ISABEL, et al.,
                                           Petitioners,
                                     v.

           FEDERAL ENERGY REGULATORY COMMISSION,
                                   Respondent,

                     TEXAS LNG BROWNSVILLE LLC,
                                        Respondent-Intervenor.
                         _____________________

On Petition for Review of Orders of the Federal Energy Regulatory Commission

                         _____________________
  MOTION FOR A 30-DAY EXTENSION OF TIME TO PETITION FOR
           REHEARING AND REHEARING EN BANC
                    ____________________

                                  Varu Chilakamarri
                                  David L. Wochner
                                  K&L Gates LLP
                                  1601 K Street, N.W.
                                  Washington, DC 20006
                                  (202) 778-9165

                                  Counsel for Texas LNG Brownsville LLC
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        Intervenor Texas LNG Brownsville LLC (Texas LNG) moves for a

  30-day extension of the current deadline for parties to seek rehearing and

  rehearing en banc. With the requested 30-day extension of time, a petition

  for rehearing and rehearing en banc would be due October 21, 2024.

  Respondent Federal Energy Regulatory Commission (FERC) and

  Intervenors Rio Grande LNG and Rio Bravo Pipeline Company consent to

  this motion. Petitioners stated that they oppose this motion.

        In support of its motion, Texas LNG states:

  1.    Petitioners in the above-captioned consolidated cases (Case Nos. 23-

  1175 and 23-1222) sought judicial review of two final agency actions

  relating to the Texas LNG Project, Texas LNG Brownsville LLC, 183 FERC

  ¶ 61,047 (April 21, 2023) (Remand Order), and Texas LNG Brownsville

  LLC, 185 FERC ¶ 61,079 (October 27, 2023) (Rehearing Order).

  2.    On August 6, 2024, this Court issued a single combined opinion

  granting in part the petitions for review in the above-captioned consolidated

  cases as well as the petitions for review in two related cases (Case No. 23-

  1174, consolidated with Case No. 23-1221), which involved challenges to

  separate final agency actions relating to the Rio Grande Project. Pursuant to

  Circuit Rules 35 and 40, all petitions for rehearing and rehearing en banc are

  due September 20, 2024. Texas LNG has not previously sought an
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  extension of this filing date. On August 21, 2024, Rio Grande filed a request

  for a 30-day extension of time for all parties, which remains pending. With

  the requested 30-day extension of time, petitions for rehearing and rehearing

  en banc will be due October 21, 2024.

  3.    In light of the issuance of a combined opinion and judgment, the need

  to ensure that potential filings by intervenors and the government are

  coordinated, and to clarify that the deadlines are temporally aligned across

  the dockets (rather than potentially having two different timetables for

  petitions relating to the same decision), Texas LNG requests a 30-day

  extension of time for parties to seek rehearing and rehearing en banc in the

  above-captioned dockets. This request parallels the request made by Rio

  Grande.

  4.    The additional time will permit coordination with counsel for Rio

  Grande, Rio Bravo, and FERC, and will help avoid redundant arguments in

  the petitions.

  5.    In addition, undersigned counsel has only recently been retained to

  serve as a lead counsel representing Texas LNG in this matter. Although

  undersigned counsel is familiar with this matter based on prior

  representation of Rio Grande in the related cases, extending the deadline will

  afford counsel the time needed to become familiar with the distinct record

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  below that pertains uniquely to Texas LNG, as the agency actions on review

  in the above-captioned cases involved different Projects, FERC orders, and

  administrative records, including distinct underlying Environmental Impact

  Statements.

  6.    Undersigned counsel has consulted with counsel for FERC, Rio

  Grande, and Rio Bravo, who all consent to this motion. Petitioners stated

  that they oppose the request.

                                  CONCLUSION

        For the forgoing reasons, this Court should grant the requested 30-day

  extension of time (to and including October 21, 2024) to petition for

  rehearing and rehearing en banc in these consolidated cases.



                                   Respectfully submitted,

                                   /s/ Varu Chilakamarri
                                   Varu Chilakamarri
                                   David L. Wochner

                                   K&L Gates LLP
                                   1601 K Street, N.W.
                                   Washington, DC 20006
                                   Phone: (202) 778-9165
                                   Email: varu.chilakamarri@klgates.com

                                   Counsel for Texas LNG Brownsville LLC
  August 26, 2024


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                     CERTIFICATE OF COMPLIANCE

  This motion complies with the type-volume limitation of Fed. R. App. P.

  27(d)(2) because this motion contains 519 words, excluding the parts of the

  motion exempted by Fed. R. App. P. 32(f). This motion complies with the

  typeface requirements of Fed. R. App. P. 32(a)(5) and the type style

  requirements of Fed. R. App. P. 32(a)(6) because this motion has been

  prepared in a proportionally spaced typeface using Microsoft Word 365 in

  Times New Roman 14-point font.



                                        /s/ Varu Chilakamarri
                                        Varu Chilakamarri

                                        K&L Gates LLP
                                        1601 K Street, N.W.
                                        Washington, DC 20006
                                        Phone: (202) 778-9165
                                        Email:
                                        varu.chilakamarri@klgates.com




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                       CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of August 2024, I electronically

  filed the foregoing with the Clerk of the Court for the U.S. Court of Appeals

  for the D.C. Circuit using the appellate CM/ECF system and served copies of

  the foregoing via the Court’s CM/ECF system on all ECF-registered counsel.



                                        /s/ Varu Chilakamarri
                                        Varu Chilakamarri

                                        K&L Gates LLP
                                        1601 K Street, N.W.
                                        Washington, DC 20006
                                        Phone: (202) 778-9165
                                        Email:
                                        varu.chilakamarri@klgates.com




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